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  Attorneys.for Creditor CoinLab, Inc.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  In re:                                          Chapter   l5
  MTGOX CO., LTD. (A/rlA MTGOX KK),               Case   No. l4-31229-sg¡-15
                Debtor in a foreign proceeding




         COINLAB, INC.'S (I) JOINDER IN CREDITORS GREGORY GREENE AND
    JOSEPH LACK'S (A) MOTTON FOR AN ORDER PURSUANT TO BANKRUPTCY
    RULE 2OO4 COMPELLING DEPOSITION TESTIMONY IN THE UNITED STATES
           FROM THE FORETGN REPRESENTATTVE, AND (B) MOTTON
                     FOR TERMINATION OF' PROVISIONAL RELIEF;
               (II) MOTION SEEKING COMPARABLE RELIEF; ANI)
                     ûID REOUEST FOR EXPEDITED HEARING
  AN EXPEDITED HEARING HAS BEEN RI,QUESTED TO BE HELD ON TUESDAY
  APRIL 1,2014 AT 1:30 PM.IF DENIED, THE FOLLOWING IS APPLICABLE.

  PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(B), A RESPONSE IS
  RT,QUTRED TO THrS MOTTON, OR THE ALLEGATTONS rN THE MOTTON MAY BE
  DEEMED ADMITTED, AND AN ORDER GRANTING THE RT,LIEF' SOUGHT MAY
  BE ENTERED BY DEFAULT.




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  ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE
  UNITED STATES BANKRUPTCY COURT AT EARLE CABELL F'EDERAL
  BUTLDING 1100 COMMERCE ST., RM I2í4,DALLAS, TX 75242 BEFORE CLOSE OF
  BUSTNESS ON APRrL 14,2014 WHrCH rS AT LEAST 14 DAYS FROM THE DATE OF
  SERVICE HEREOF. A COPY SHALL BE SERVED UPON COUNSEL FOR CREDITOR
  COINLAB,INC. ANY RESPONSE SHALL INCLUDE A DETAILED AND
  COMPREHENSIVE STATEMENT AS TO HOW THE MOVANT CAN BE
  "ADEQUATELY PROTECTED'IF THE STAY IS TO BE CONTINUED.




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           Creditor Coinlab, Inc. ("Coinlab"), by and through its attorneys, hereby joins in

  (I) Creditors Gregory Greene and Joseph Lack's Motionfor an Order Pursuant to Banlvuptcy

  Rule 2004 Compelling Deposition Testimony in the United Statesfrom the Foreign

  Representative fDkt. No. 39], filed with this Court on March 25,2014 (the "Motion to Compel"),

  and   (II) Creditors Gregory Greene   and Joseph Lack's   Motionþr Termination of Provisional
  Relief [Dkt No. 37], also filed with this Court on March 25,2074 (the "Stay Relief Motion").

  Coinlab further   seeks the same   relief sought in both the Motion to Compel and the Stay Relief

  Motion to the extent applicable to its own proceedings pending against the Debtor and its parent

  in Seattle, and seeks the right to have the same heard on an expedited basis on April 1,2014, or,

  if not granted, at a regularly noticed hearing, but in any event on the same date as the Motion to
  Compel and the Stay Relief Motion. Accordingly, Coinlab respectfully represents as follows:



                                        '*To%o,¿'"t$?,î$*o
           I   .   Coinlab is a creditor herein and plaintiff in   a breach   of contract dispute against

  the above-captioned debtor in a foreign proceeding (the "Debtor") and its parent, Tibanne KK, a

  Japanese corporation ("Tibanne" and together with the Debtor, "Defendg4!9"), which is currently

  pending in the United States District Court for the Western District of Washington, CoinLab,

  Inc. v. Mt. Gox KK, et al., Case No. 2:13-cv-00777-MJP (the "Seattle Action").

           2.      Specifically, Coinlab brought suit in the Seattle Action to remedy the Debtor's

  and Tibanne's breach of their agreement with Coinlab that        Coinlab would      be the exclusive

  licensee for the Defendants' bitcoin-exchange services in North America. Both           Coinlab and the

  Defendants are among the world's largest providers of technology and services for the digital

  currency bitcoin. Under the agreement, the Debtor granted Coinlab access to its computer

  servers and granted the exclusive right to certain intellectual property necessary for      Coinlab to
  provide digital cunency exchange services to North American customers. Coinlab offered its

  credibility, market insights, relationships with established banks and investors, and intellectual

  property and agreed to manage and market the exchange services in North America.



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            3.         However, the Debtor      willfully failed to perform its obligations under its
   agreement with Coinlab, and has continued to market to customers in North America and accept

   business from customers there. The Debtor has also failed to provide                 Coinlab with account
   reconciliation data, server access, and other information promised in the agreement that is

   essential t'or Coinlab to market exchange services and service its customers as contemplated in

  the agreement. These breaches have caused Coinlab to lose customers and threaten to cause

   substantial damage       to Coinlab's business-giving           rise to the commencement of the Seattle

  Action.

            4.         On March 10, the Debtor filed a petition for recognition and related relief under

   Chapter l5 of the United States Bankruptcy Codel with this Court. Pursuant to this Court's

   Order Granting Applicationfor Provisional Relief, Scheduling Recognition Hearing, and

  Specifying Form and Manner of Notice fDkt. No. 131 (the "TRO_Ordq"), the Seattle Action was

   stayed against the Debtor. Notably,          Coinlab understands that the Debtor also requested that this

  Court stay litigation against Tibanne as well, which this Court denied at the hearing on the same

  on March 70,2013. Similarly, in the Class Action Litigation2 against the Debtor and Tibanne

  pending in the Northern District of lllinois, the Defendants' request for a bankruptcy stay of the

   litigation against Tibanne (and Mark Karpeles, the foreign representative in this proceeding and

  chief executive officer of the Debtor and Tibanne, referred to herein as "Mr. Karpeles" or the
  ..@,')wasdenied.(,SeeDeclarationofRogerTownsendatfl2(the
  "Townsend Decl."), attached as Exhibit I to the Request for Judicial Notice filed concurrently

  herewith.)

            5.         Despite consistently losing the argument that any provisional relief for the Debtor

  should apply more broadly, counsel for the Defendants have taken the position that the litigation

            ' References herein to the "Bankruptcy Code" are to Title I I of the United States Code, as amended.
   Statutory references herein are to sections of the Bankruptcy Code unless otherwise specified.

            2
                Capitalized,terms used herein but not otherwise defined have the meanings given them in the Stay Relief
  Motion or the Motion to Compel, as applicable.




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   against Tibanne in the Seattle Action should be stayed. (Townsend Decl. fl     3.) To that end,
   Tibanne has failed to produce Mr. Karpeles at a deposition previously agreed upon by the parties

   and has failed to comply with certain other discovery obligations in the Seattle   Action. On

   February 28,2014, Coinlab issued a notice of deposition for Mark Karpeles. (See Townsend

   Decl. Ex. 2.) Pursuant to an agreement between the parties, Mr. Karpeles' individual deposition

  was scheduled for March 25 and26,2014 in Taipei, Taiwan, at the offices of defense counsel.

  However, after various communications between the parties, Defendants' counsel informed

   Coinlab's counsel that it was "highly unlikely" that Mr. Karpeles would appear       as agreed, citing

  to the "complexity" introduced by the Debtor's bankruptcy filing in Japan, and, indeed, Mr.

   Karpeles subsequently failed to appear. (See Townsend Decl. Exs. 3, 4, and 5.) Counsel have

   met and conferred but have been unable to reach an agreement regarding the deposition of Mr.

   Karpeles.

           6.     Coinlab's difficulties in securing the deposition in the Seattle Action of Mr.
   Karpeles, who, as Foreign Representative (among other roles), has a fiduciary obligation to the

  Debtor's creditors-including the duty of candor to creditors concerning information about the

  Debtor's estate that is critical to the evaluation of creditors' claims and involvement in this

  case-highlight the need for this Court's intervention. The Rule 2004 deposition proposed in the

   Motion to Compel would equally benefit Coinl-ab, who may indeed be one of the estate's largest

  creditors, providing Coinlab with an opportunity to inquire into the Debtor's assets and

   investigate the facts and circumstances surrounding the Chapter 15 proceeding while it evaluates

  the Debtor's pending petition for recognition, and would assist in Coinlab's prosecution of its

  claims against the estate.

           7.     Similarly, for the reasons stated in the Stay Relief Motion, Coinlab should be

  permitted to continue pursuing its claims in the Seattle Action. The Foreign Representative has

   failed to identiff any harm to creditors if the provisional relief ordered by this Court is

  terminated, and yet the injunction currently prevents Coinlab from liquidating its claims against

  the Debtor and otherwise protecting its interests to mitigate its escalating damages.



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                                                   II.
                                             ARGUMENT
          A.     The Motion to Compel Applies with Equal Force to the Seattle Action.
          8.     Coinlab shares the concerns expressed in the Motion to Compel generally,
  including the facts and arguments articulated in paragraphs 1-7, I l-15, and2l-34 therein, which

  Coinlab incorporates herein by reference. Each of the facts and arguments raised in that motion
  and the authorities cited therein applies equally to the Seattle Action as to the Class Action

  Litigation.

          9.     Coinlab,   as a major creditor of the Debtor, is entitled to information that the

  Foreign Representative possesses regarding the Debtor's assets in the United States, of the

  critical facts leading up to the initiation of the Japan Proceeding, and of events following the

  commencement of the bankruptcy. This information is necessary for Coinlab's evaluation             of
  the pending petition for recognition and is also necessary for Coinlab's continued liquidation          of
  its claims against the Debtor. It is particularly important that the Foreign Representative, who

  suffers from serious conflicts of interest, be transparent with the information he possesses about

  the Debtor, given his increasing lack of credibility with creditors.

          10.    Given his refusal to appear at previously scheduled depositions based on his

  contention that he personally should be protected as a result of the Debtor's bankruptcy filing,

  this Court's intervention is needed to compel Mr. Karpeles's attendance at a Rule 2004

  examination as requested in the Motion to Compel for the benefit of Coinlab as well.

          B.     The Stay Relief Motion Also Applies to the Seattle Action.
          I l.   Coinlab also shares the concerns expressed in the Stay Relief Motion generally,
  including the facts and arguments articulated in paragraphs 1 -3, 5, 6, 7 -22, 24-27 , 29-43, and 45-

  50 therein, which   Coinlab incorporates herein by reference.

          12.    Indeed, the arguments raised in the Stay Relief Motion regarding the need for

  relief from the stay imposed by the TRO Order applies with equal force to the Seattle Action        as

  to the Class Action Litigation. Coinlab is entitled to pursue the liquidation of its claims against

  the Debtor in its chosen forum, but the Foreign Representative has failed to   justif, why the stay


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  is   just and proper, particularly before this Court has ruled on the pending petition for recognition.

  Furthermore, as discussed in the Stay Relief Motion, there are serious questions about the

  reliability (and sufficiency) of the Foreign Representative's declaration that formed the basis for

  the provisional relief this Court granted. In any event, Coinlab expects that the current Japanese

  insolvency process will soon shift to a liquidation proceeding that will displace Mr. Karpeles,

  casting further doubt on the propriety of the provisional relief he sought.

             13.    FuÉhermore, Coinlab has been denied sufficient protection under section                     1522-
  the provisional relief granted under the TRO Order has, without a proper showing of cause,

  denied Coinlab the ability to continue pursuing its rights and remedies in the Seattle Action.3

  Coinlab is no less entitled to the relief and protection sought in the Stay Relief Motion than the
  plaintiffs in the Class Action Litigation.

             14.    Accordingly, for those reasons and, pursuant to l l U.S.C . 5 1522 and other

  applicable law, Coinlab seeks comparable relief for itself and the Seattle Action, including

  obtaining an order terminating the provisional emergency relief granted to the Foreign

  Representative in the TRO Order with respect to the Seattle Action.

            C.      This Motion and Joinder Should be Heard on an Expedited Basis at the
                    April 1,2014 Hearing.
             15.    Coinlab submits that the issues set forth in the Motion to Compel and the Stay
  Relief Motion apply equally to the Seattle Action. Given the interrelation of the facts and law in

  those motions to the facts and law at issue in Coinlab's motion and joinder here, Coinlab

  hereby requests that this Court hear this motion and joinder at the upcoming                  April 1,2014
  hearing for the same reasons set forth in (I) the         Motionþr      Setting and Requestfor Expedited

  Hearing on Creditors Gregory Greene and Joseph Lack's Motionþr Termination of Provisional

            3
              Importantly, for the reasons set forth in the Stay Relief Motion at paragraph 44,the freeze order being
  sought by the movants in the Class Action Litigation would equally benefit Coinlab as well, as a major creditor of
  the Debtor, by protecting the Debtor's assets subject to U.S. jurisdiction so that the parties may continue their
  investigation of all the facts necessary to understand the scope of the Debtors' liabilities, and would assist Coinlab
  in the continued prosecution of its claims.




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  Relief fDkt. No. 38] and (II) the Motionfor Setting and Requestþr Expedited Hearing on

  Creditors Gregory Greene and Joseph Lack's Motionþr an Order Pursuant to Banlvuptcy Rule

  2004 Compelling Deposition Testimony in the United Statesfrom the Foreign Representative

  [Dkt. No. 40], and accordingly, Coinlab incorporates the same by reference as applicable hereto.

                                                      IIr.
                                                   NOTICE
             16.    Copies of this motion and joinder and proposed forms of order have been

  provided to: (i) the Office of the United States Trustee for the Northern District of Texas;

  (iii)   counsel to the Foreign Representative;   (ii) counsel to the movants in the Stay Relief Motion

  and the Motion to Compel; and (iv) the creditors listed in the Debtor's creditor matrix via

  electronic mail or overnight mail.

             17.    Coinlab submits that the above notice and service constitute reasonable and
  proper notice under the circumstances, and that no other or further notice is necessary or

  appropriate.

                                                      rv.
                                             CONCLUSION
             18.    Accordingly, Coinlab hereby requests that this Court enter orders, substantially

  in the forms attached hereto as Exhibits A, B, and C, respectively (A) compelling the Foreign

  Representative to submit to a 2004 examination (or a deposition under Bankruptcy Rule 7030          if
  the Court deems a Rule 2004 examination inappropriate), (B) terminating the emergency relief

  granted to the Debtor in the TRO Order as it pertains to the Seattle Action, and (C) setting a

  hearing on this motion andjoinder for     April l, 2014 at I :30 p.m.




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  Dated: March 31,2014                     By

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                                 CERTIFICATE OF CONFERENCE

           Counsel for Coinlab, Inc. was unable to confer with counsel for the Chapter 15 Debtor
   on its pending (I) Joinder in Creditors Gregory Greene and Joseph Lack's (A) Motionfor an
   Order Pursuant to Banlvuptcy Rule 2004 Compellíng Deposition Testimony in the United Stqtes
  from the Foreign Representative, and (B) Motionfor Termination of Provisional Relief; (II)
   Motion Seeking Comparable Relief; and (III) Request þr Expedited Hearing frled concurrently
   herewith (the "Joinder and Motion") because the hearing on Creditors Gregory Greene and
   Joseph Lack's Motionfor Termination of Provisional Relief lDocket No. 371and Creditors
   Gregory Greene and Joseph Lack's Motionfor an Order Pursuønt to Banlvuptcy Rule 2004
   Compelling Deposition Testimony in the United States from the Foreign Representafive [Docket
   No. 391, to which the Joinder and Motion a¡e linked, have been scheduled, on an expedited basis,
   for April 1,2014. Coinlab thus had insufficient opportunity to confer with counsel in advance
   of the hearing.



                                                     Vincent J.   hful

                                     CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on March 31,2014 a true and correct copy of the
   foregoing document was served (i) upon all parties on the attached Service List via email (if
   available as indicated thereon) or first class mail, and (ii) via email upon the parties that receive
   electronic notice in this case pursuant to the Court ECF filing system.




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                                 EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  In re:                                             $   Chapter   l5
                                                     $
  MtGox Co., Ltd. (alWa MtGox KK)                    $   Case   No. 14-31229-sg¡-15
                                                     $
           Debtor in a Foreign Proceeding            $
                                                     $



        ORDER GRANTING CREDITOR COINLAB,INC.'S MOTION FOR AN ORDER
          PURSUANT TO BANKRUPTCY RULT.2OO4 COMPELLING DEPOSITION
      TESTIMONY IN THE UNITED STATES FROM THE FOREIGN REPRESENTATIVE


           This matter having come before this Court on the motion of Creditor Coinlab, Inc.

  ("Coinlab") for an Order pursuant to Fed. R. Bankr. P.2004 compelling Robert Marie Mark

  Karpeles (the "Foreign Representative") to submit to an examination in the United States (the

  "Motion");l it appearing that the relief requested in the Motion is in the best interests of all



  '       The Motion, filed on March 31,2014, is entitled CoinLab, Inc.'s (I) Joinder in Creditors
  Gregory Greene and Joseph Lack's (A) Motionfor an Order Pursuant to Banlvuptcy Rule 2004
  Compelling Deposition Testimony in the United Statesfrom the Foreign Representative, and
  (B) Motionfor Termination of Provisional Relief; (II) Motion Seeking Comparable Relief; and
  (III) Requestþr Expedited Hearing. Capitalized terms used but not otherwise defined herein
  shall have the meaning given to such terms, or otherwise used, in the Motion.


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  parties-in-interest; it appearing that notice of the Motion has been given as set forth in the

  Motion and that no other or further notice need be given; and after due deliberation thereon and

  good cause appearing therefor,

           NOW, THEREF'ORE,IT IS HEREBY ORDERED, ADJUDGED AND DECREED

  THAT:

           1.       The Motion is GRANTED in its entirety.

           2.       The Foreign Representative shall appear and submit to deposition testimony upon

  oral examination by Coinlab regarding the matters described in the Motion and any other

  matters relating to the Petition.

           3.       The Deposition of the Foreign Representative shall take place in the Northern

  District of Texas by April 10,2014, unless otherwise agreed between the Foreign Representative

  and   Coinlab, pursuant to a subpoena to be issued in furtherance of this Order.

           4.       In the event Robert Marie Mark Karpeles is replaced as the foreign representative

  in this chapter   l5 case by the court in the Japan   Proceeding, this Order shall remain in effect with

  respect to the 2004 examination in this District of Mr. Karpeles.

           5.       The Court shall retain jurisdiction over any matter or dispute arising from or

  relating to the implementation of this Order.




                                       ###ENDOFORDER###




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                                  EXHIBIT B
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          F'OR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  In re:                                           $   Chapter 15
                                                   $
  MtGox Co., Ltd. (alWa MtGox KK)                  $   Case   No. l4-31229-sg-15
                                                   $
           Debtor in a Foreign Proceeding          $
                                                   $




                      ORDER GRANTTNG CREDTTOR COINLAB, INC.'S
                    MOTION FOR TERMINATION OF PROVISIONAL RELIEF

           This matter having come before this Court on the motion (the "Motion")r of Creditor

  Coinlab, Inc. ("Coinlab") for an Order pursuant to I I U.S.C. ç1522 terminating the provisional

  relief granted to the Foreign Representative pursuant to the Court's Order Granting Application

  for Provisional   Relief, Scheduling Recognition Hearing, and Specifying Form and Manner   of

  1        The Motion, hled on March 31,2014, is entitled CoinLab, Inc.'s (I) Joinder in Creditors
  Gregory Greene and Joseph Lack's (A) Motionfor an Order Pursuant to Banlcruptcy Rule 2004
  Compelling Deposition Testímony in the United Statesfrom the Foreign Representative, and
  (B) Motionfor Termination of Provisional Relief; (II) Motion Seeking Comparable Relief; and
  (III) Request for Expedited Hearing. Capitalized terms used but not otherwise defined herein
  shall have the meaning given to such terms, or otherwise used, in the Motion.



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  Notice (the "TRQ_QId9I") [Docket No. l3] with respect to the Seattle Action; it appearing that

  the relief requested in the Motion is in the best interests of all parties-in-interest; it appearing that

  notice of the Motion has been given as set forth in the Motion and that no other or further notice

  need be given; and after due deliberation thereon and good cause appearing therefor,

            NOW. THEREFORE.IT IS HEREBY ORDERED. ADJUDGED AND DECREED

  T.HA]I:

            l.    The Motion is GRANTED in its entirety.

            2.    The automatic stay is hereby lifted solely to allow the Seattle Action to proceed

  against the Debtor in the United States District Court for the Western District of Washington.

            3.    The Court shall retain jurisdiction over any matter or dispute arising from or

  relating to the implementation of this Order.


                                      ###ENDOFORDER###




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                                  EXHIBIT C
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  In re:                                              $   Chapter 15
                                                      $
  MtGox Co., Ltd. (alkla MtGox KK)                    $   Case   No. l4-31229-sgt-15
                                                      $
           Debtor in a Foreign Proceeding             $
                                                      $


           ORDER REGARDING MOTION F'OR SETTING AND REQUEST FOR
               EXPEDITED HEARING ON CREDITOR COINLAB,INC.'S
       (r) JOTNDER rN CREDITORS GREGORY GREENE AND JOSEPH LACK'S
       (A) MOTTON FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004
    COMPELLING DEPOSITION TESTIMONY IN THE UNITED STATES FROM THE
      FORT,TGN REPRESENTATTVE, AND (B) MOTION FOR TERMTNATION OF
     PROVISIONAL RELIEF; (ID MOTION SEEKING COMPARABLE RELIEF; AND
                     IIID REOUEST FOR EXPEDITED HEARING
          The request for an expedited hearing on CoinLab, Inc.'s (I) Joinder in Creditors Gregory
  Greene and Joseph Lack's (A) Motíon        þr   an Order Pursuant to Bankruptcy Rule 2004
  Compelling Deposition Testimony in the United States from the Foreign Representatíve, and
  (B) Motion for Termination of Provisional Relief; (II) Motion Seekíng Comparable Relief; and
  (III) Requestþr Expedited Hearing is GRANTED.

                 A hearing will be held before the Honorable Stacey G. Jernigan, 1100 Commerce
  Street, Couftroom #1, Dallas, Texas, on Tuesday, April 1,2014 at 1:30 p.m. Counsel for
  Coinl-ab, Inc. shall serve this Order on interested parties.

                  No expedited hearing will be scheduled.

                                    ###ENDOFORDER###


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